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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

                                                    *
UNITED STATES OF AMERICA
                                                    *
       v.                                                    Crim. No. ELH-14-271
                                                    *
KEYON PAYLOR                                                 Civil No. _________
                                                    *

                                            * * * * *

              MOTION TO VACATE JUDGMENT UNDER 28 U.S.C. § 2255

       NOW COMES Petitioner, KEYON PAYLOR, by and through his attorneys, THE

EXONERATION PROJECT, and hereby moves to vacate his judgment under 28 U.S.C. § 2255.

In support thereof, Mr. Paylor states as follows:

                                       INTRODUCTION

       The petitioner, Keyon Paylor, is an innocent man who pled guilty to a crime he did not

commit. He has served almost the entirety of his 60-month sentence. He pled guilty because,

generally familiar with corruption in the Baltimore City Police Department and the

persuasiveness to a jury of even false testimony coming from police officers, he recognized that

he did not have a level playing field on which to fight the false allegations against him. The

conviction of Detective Daniel Hersl, the officer who had arrested him in both the instant case

and multiple other times since he was thirteen years old, on charges of racketeering, robbery, and

extortion prove Mr. Paylor right. See United States v. Gondo, et al., Crim. No. JKB-17-0106.

       Indeed, following a three-week trial, on February 12, 2018, Hersl was convicted of

racketeering conspiracy (Count One), racketeering (Count Two), and Hobbs Act robbery and

extortion (Count Five). Ex. 1, Verdict, United States v. Hersl & Taylor, No. CCB 17-106 (D.
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Md.). The Acting Baltimore Police Department Commissioner has described the behavior of

Hersl and his cohorts on the Gun Trace Task Force as some of the “most egregious and

despicable acts ever perpetrated in law enforcement”; Mayor Catherine Pugh has announced that

she is “appalled by the level of dishonesty and betrayal;” and Councilman Brandon Scott said

that having learned about the testimony at Hersl’s criminal trial, “[t]he first thing I think about is

all the lives that they have ruined.” “What They’re Saying about the Guilty Verdict in Baltimore

Police Corruption Case,” Baltimore Sun, at

http://www.baltimoresun.com/news/maryland/crime/bs-md-ci-what-theyre-saying-baltimore-

corruption-20180212-story.html. Mr. Paylor’s is one of the “lives that they have ruined.”

Hersl, however, did not act alone—neither with respect to the GTTF nor with regard to Mr.

Paylor’s false arrest and conviction. Multiple of Mr. Paylor’s prior arrests involved Hersl

working with the same officers who arrested him in the instant case, including with Detective

Romeo and Sergeant Burns.

       Romeo testified on Hersl’s behalf at Hersl’s federal criminal trial, but Romeo’s testimony

could not sanitize Hersl’s bad acts, and the jury convicted Hersl on the very robbery that Romeo

testified did not occur: the robbery of Jimmie Griffin. Ex. 1, Verdict at Racketeering Act 3 (Nov.

5, 2014 Jimmie Griffin), at 4. Likewise, the jury convicted Hersl of robbing (and planting

evidence on) Herbert Tate, which Hersl did with Sergeant Burns. Id., Verdict at Racketeering

Act 4 (Nov. 27, 2015) at 5.

       Just as was true for Hersl’s trial, no testimony or statements of any other officer can

sanitize Hersl’s fraudulent acts regarding Mr. Paylor. To the contrary, Mr. Paylor’s conviction is

forever, and irreparably tainted. And though Mr. Paylor has served nearly all of his time, his

wrongful conviction, unless vacated, will forever have serious, prejudicial collateral




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consequences. See Spencer v. Kemna, 523 U.S. 1, 8–14 (1998). This Court should correct this

miscarriage of justice and vacate Mr. Paylor’s conviction.

                                 STATEMENT OF THE CASE

I.     Procedural History

       Keyon Paylor was arrested at his home in Baltimore on January 2, 2014, and was

detained on state charges. He was indicted federally on June 4, 2014. He agreed to remain

detained because the state had filed a petition alleging he had violated his conditions of state

probation.

       Mr. Paylor entered into a plea agreement pursuant to Rule 11(c)(1)(C). The agreement

stipulated that he would serve a term of 60-months incarceration. This plea agreement also

included a promise that the Baltimore City State’s Attorney’s Office would recommend that the

state court impose a sentence of time served for violating his probation. On July 22, 2015, the

court accepted the plea and sentenced him to serve 60 months in prison. Mr. Paylor did not

appeal his conviction or sentence.

II.    Facts

       A.      Mr. Paylor’s False Arrest

       According to the statement of probable cause written by Det. Hersl, Detectives Hersl,

Moore, Romeo, and Sergeant Burns saw Mr. Paylor walking down the street quickly, watching

the police driving behind him in their unmarked car. Ex. 2, Statement of Probable Cause. The

police allegedly saw him jump over several front porch walls, reach for his waistband, and

remove what appeared to be a black handgun. The report states, “Keyon Paylor then placed same

under the cushion of a chair located on the porch of 651 Bartlett Ave.” Id. The report continues

that after seeing Romeo and Moore getting out of the car, “Keyon Paylor then opened the front




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door of 651 Bartlett Ave. and entered the dwelling in a very hurried manner, disregarding

Detective Romeo and Moore’s lawful orders to stop. Detectives Romeo and Moore, believing

that Keyon Paylor just tried to hide a handgun under the chair cushion, gave pursuit into the

dwelling of 651 Bartlett Avenue.” Id.

       Although, Hersl alleged that Paylor placed a handgun under the cushion of the exposed

front porch, the police did not stop and seize the handgun. Instead, according to Hersl’s report,

these trained officers simply walked past an unattended gun on an open front porch and followed

Mr. Paylor inside. The report states that they arrested Mr. Paylor inside his home and then

brought him back out to the porch. Id. Only then did Detective Moore, who was now joined by

the other officers, “recover” a gun from the chair. Id. Shortly after his arrest, Mr. Paylor called

his family from the jail. In that call, he said, “they didn’t see me put no gun nowhere.” Ex. 3,

Declaration of Katherine Newberger ¶ 4. He said he knew they were following him into the

house no matter what happened. Id.

       During that same call from jail, Mr. Paylor asked his family to look for money that he

had upstairs in his room. Mr. Paylor had seen the police go into his room. He told his family over

that phone that “I knew something was funny.” Id. His family was not able to find any money.

No documentation from the police records reflects this, but Sgt. Burns spent time in Mr. Paylor’s

room on the day of the arrest. Id.

       These four police officers were no strangers to Mr. Paylor. Det. Hersl first arrested him

when he was 13 (he is now 25). A review of Mr. Paylor’s prior convictions shows that both Det.

Hersl and Sgt. Burns were involved in previous charges that Mr. Paylor faced in Baltimore. In

one of the instances, Det. Hersl was listed as a witness only in the district court proceedings, but

was removed by the time the case had been transferred to circuit court.




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       B.      Mr. Paylor’s Federal Prosecution

       Mr. Paylor consistently maintained his innocence, insisting that he did not possess or hide

a gun. From the early stages of his federal prosecution, he informed defense counsel that Det.

Hersl and others were under investigation for corruption.1

       Assistant Federal Public Defender Brendan Hurson filed a motion to suppress the firearm

and a motion challenging the warrantless entry into Mr. Paylor’s home. In the course of litigating

the suppression motions, as well as in preparation for trial, Mr. Hurson attempted to investigate

the corruption allegations and sought ways to impeach the credibility of the arresting officers.

See Ex. 4, Letter from Mr. Hurson to AUSA Martinez demanding Internal Affairs Division

(“IAD”) files. He made specific demands of the prosecutors for records of complaints and IAD

investigations into the four officers. His demand was not a pro forma request, but detailed an

extensive investigation that had been based on media reports and publicly available documents.

       Mr. Hurson provided the Court with a lengthy explanation of the need for the

information. See Ex. 5, Letter from Mr. Hurson to the Court, dated April 3, 2015. He described

the evidence that the government would use to prove its case: the testimony of the four officers,

Detectives Hersl, Moore, Romeo, and Sgt. Burns. Counsel expected that all four would testify to

the same facts, although the only sworn account of the events leading up to Mr. Paylor’s arrest

was authored by Hersl. Each officer would adopt Hersl’s version of events, although none of the

officers saw Mr. Paylor with a weapon the day of his arrest. Mr. Hurson explained his theory that

the officers would adopt Hersl’s story “either out of loyalty to Hersl (these officers are close



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        Several lawyers in the Office of the Federal Public Defender have represented Mr. Paylor
over the course of his case. Gary Christopher represented Mr. Paylor at his initial appearance.
The case was then assigned to Susan Hensler. When she went on maternity leave, Brendan
Hurson took over the case. Most recently, Katherine Tang Newberger has represented Mr.
Paylor.


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personal friends and have worked together for years), or because so much time has passed since

Mr. Paylor’s arrest that they are simply relying on his written account and substituting its content

for their own memory.” Id. at 2.

        Defense counsel explained that the only issue at trial would be whether Hersl lied when

he swore that he saw Mr. Paylor hide a gun under the cushion. Mr. Hurson explained that “in

order to convince the jury that reasonable doubt exists, the jury must be presented with a reason

why Det. Hersl would fabricate the key allegation in this matter, as well as a reason why these

officers would agree to join him in that fabrication.” Id. Counsel articulated the Defense theory:

        Det. Hersl exhibits extreme bias toward defendants like Mr. Paylor, . . . that Det. Hersl’s
        behavior in this case is in keeping with his behavior in other investigations of black
        residents of Baltimore City. I intend to show the jury that Det. Hersl, who is white, has a
        history of harassing Mr. Paylor and other young black men in Baltimore City. I also
        intend to show that Det. Hersl has a history of skirting the rules in his pursuit of suspects,
        regardless of race.

Id. at 2-3.

        The requested IAD files would have advanced this defense. Counsel argued, “It is my

understanding that the IAD files will reflect that Det. Hersl has a long history of pursuing

suspects at all costs without regard to their actual guilt or innocence.” Id. at 3. The records would

show that others “have claimed that Det. Hersl doggedly pursued their arrest and detention

despite a lack of factual support to justify either. Det. Hersl has used excessive force in his

pursuits causing BPD to spend nearly $200,000 settling just three claims against him. Det. Hersl

has lied on applications for search warrants and during at least one meeting with a probation

officer in order to secure the arrest of a promising young rap artist solely to prevent that artist’s

performance at a huge concert. Det. Hersl has planted evidence on at least one suspect to secure

a conviction.” Id.; see also id. at 5 (citing newspaper articles with allegations against Hersl).




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        The prosecutor opposed this request, but obtained numerous files and reviewed them. The

Baltimore Police Department Internal Affairs files contained departmental investigations against

each of the four officers involved in this case. The prosecutor provided the Court with the files

for an in camera review. See Group Ex. 6, Letters from AUSA Martinez to the Court dated April

1, 2015, and April 3, 2015.

        The Court conducted an in camera review of the files. Of the 30 files/complaints against

Det. Hersl, the Court disclosed only four files and part of a fifth. See Ex. 7, Letter from the Court

to counsel, dated April 9, 2015. The Court did not disclose any files relating to the other three

officers.

        According to trial counsel’s files, one of these files involved allegations similar to the

issues here—that Det. Hersl and others stole money from the accused without documenting the

total amount seized from the accused. A search of records on the Maryland Judiciary Case

Search website reveals that other officers involved in that case and misconduct included Burns

and Romeo.

        Nevertheless, while probative, the disclosed information from the Internal Affairs citizen

complaints was insufficient to allow defense counsel to adequately challenge the credibility of

the officers—the key issue at a potential trial—particularly when the stakes of the federal

prosecution were so high. Without sufficient information to challenge the credibility of the police

officers, counsel believed the chances of success at trial to be negligible and advised Mr. Paylor

to plead guilty. Ex. 8, Declaration Brendan Hurson ¶ 5.

        Mr. Paylor ultimately decided to enter a guilty plea to illegally possessing a firearm on

April 21, 2015. The fact that this charge also constituted a violation of his state probation, but

that the plea agreement would favorably resolve that violation, heavily influenced his decision.




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See Ex. 9, Plea Agreement. Mr. Paylor faced a sentence of 14 years, 6 months, and 27 days on

the state VOP. With the plea agreement calling for an agreed term of 60 months for the federal

charge and an agreement that the Baltimore City State’s Attorney’s Office would recommend

that the state court impose a sentence of time served for his VOP, this combined resolution was

an offer too good for Mr. Paylor to refuse, despite knowing that the police had planted evidence

against him.2

       C.       Mr. Paylor Assists The Government

       In March 2017, a grand jury indicted Hersl and six other officers, charging racketeering,

armed robbery, and various acts of corruption. See United States v. Gondo, Criminal No. JKB-

17-0106. As part of the investigation into this matter, FBI agents listened to the phone call that

Mr. Paylor placed to his family from the jail shortly after his arrest. Ex. 3, Newberger Dec. ¶ 4.

Since that call indicated that the corrupt police officers had engaged in the same conduct against

Mr. Paylor for which they were indicted, the U.S. Attorney’s Office contacted the Federal

Defender’s Office and indicated an interest in debriefing Mr. Paylor. Id. ¶¶ 2-4.

       Mr. Hurson was no longer in the Maryland Office of the Federal Public Defender, so

Assistant Federal Public Defender Katherine Tang Newberger took over Mr. Paylor’s case. After

talking with Mr. Paylor, Ms. Newberger informed the government that Mr. Paylor’s version of

events given at the debriefing would conflict with the statement of facts in the plea agreement.

The government attorney indicated they still wanted to meet with Mr. Paylor anyway. Id. ¶ 3.

       On June 15, 2017, Mr. Paylor and Ms. Newberger met with Assistant United States

Attorney Derek Hines and two FBI agents. Id. ¶ 4. The government offered Mr. Paylor limited



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        As it happened, Mr. Paylor’s violation of probation was ultimately dismissed. This means
that the whole time he had spent detained pretrial was credited to his federal sentence. His
current estimated release date from the BOP is May 12, 2018.


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use and derivative use immunity for information relating to his interactions with Hersl,

particularly with respect to his arrest in 2014. Id. ¶ 6.

        Mr. Paylor explained that he had been to visit his probation officer the morning he was

arrested, meaning that prior to when the police saw him walking down his block (Hersl’s report

sets the time as 11:10 a.m.), he had gone through a metal detector at the state probation office.

Id. ¶ 11. He proffered that when he was returning home, the police officers got out of their

vehicle and followed him into the house, with Burns going straight upstairs to his room. Id. ¶¶ 7-

9. He said that Burns had stolen between $4,500 and $5,000 from his room. Id. Mr. Paylor also

described the officers bringing him out to the front porch while Burns was upstairs, and only

then “finding” the gun under the cushion. Id. ¶¶ 10-11. Mr. Paylor was able to identify both

Burns and Hersl in photographs. Id.¶ 12. The AUSA was able to independently corroborate a

fact related to Mr. Paylor’s proof that he did not have a gun when he was arrested: records

showed that he had in fact seen his state probation officer earlier that same morning.

Immediately after Mr. Paylor met with Mr. Hines and the FBI agents, he testified before the

federal grand jury. Id. ¶ 13.

        Mr. Hines then filed a motion pursuant to Fed. R. Crim. P. 35 on Mr. Paylor’s behalf

requesting that the Court reduce Mr. Paylor’s sentence to time-served. Ex. 10, Rule 35 Motion.

The government argued in its motion that Mr. Paylor “provided information to the United States

that has substantially assisted the United States in an ongoing investigation.” Id. at 2.

        Ms. Newberger visited Mr. Paylor to tell him that the government had filed the Rule 35

motion. After her visit with Mr. Paylor, she informed AUSA Hines that Mr. Paylor was too

scared of retaliation from the corrupt police officers to proceed with the Rule 35 motion. Ex. 3,

Newberger Dec. ¶ 14. Both he and his family were scared of being identified as “snitches.” He




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and his family were concerned about the significant possibility that corrupt officers would plant

evidence against him again, or even physically harm them to punish him for providing evidence

about the corruption. Id.

       Mr. Paylor’s concern was not unfounded. Indeed, AUSA Derek Hines argued to Judge

Bredar, regarding Hersl specifically, but also about all the corrupt officers in general, “Witnesses

in this case are terrified of these defendants. They’re terrified they will be retaliated against

because they’ve come forward and brought information against police officers. They’re fearful

not only of these defendants, but of other police officers that they fear may be associated with

them or working with them or have sympathy for the position they’re in.” See Ex. 11, United

States v. Hersl, ECF No. 104, Transcript at 12, filed 3/30/17. AUSA Hines further said of

witnesses’ fears of retaliation: “It’s not unfounded. Members of the conspiracy . . . have

threatened witnesses, including threatened to have a witness killed if the witness said anything.

And this was [sic] confidential informant that in an intercepted communication members of the

conspiracy said they would let it be known that this person was a snitch on the street and he

would wind up dead if he, quote, ‘said anything.’” Id.

       AUSA Hines asked Ms. Newberger if there was anything he could do to change Mr.

Paylor’s mind about proceeding with the Rule 35 motion. Counsel told him that the government

could agree to vacate the conviction. If Mr. Paylor was going to continue to labor under a federal

conviction and all its attendant collateral consequences, he would prefer to finish out the 11

months of his sentence without any looming danger of retaliation from the police department. At

that time, the government was not prepared to agree to vacate the convictions. Both parties called

the Court to cancel the scheduled Rule 35 hearing.




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       The parties explained this development to the Court. The Court asked the government to

withdraw the motion so the motion would not remain on the docket without a ruling. The

government stated in its motion to withdraw the previous motion that “Mr. Paylor has decided

that he does not want to pursue a sentence reduction pursuant to Rule 35 at this time.” Ex. 12,

Notice of Withdrawal of Rule 35 Motion.

       The government never decided that Mr. Paylor’s proffer or grand jury testimony was

unhelpful or unreliable. Instead, the withdrawal of the motion was at Mr. Paylor’s request to

protect himself and his family.

       D.      Hersl’s Federal Prosecution and Conviction

       On January 23, 2018, the U.S. Attorney’s Office began a three week trial, exposing the

corruption of Hersl and the GTTF. During that trial, the government presented evidence that

Hersl and others were “willing to do whatever it took to lie, cheat and steal” from civilians under

their arrest. “Baltimore Police Officers Found Guilty of Racketeering, Robbery in Gun Trace

Task Force Corruption Case,” at http://www.baltimoresun.com/news/maryland/crime/bs-md-ci-

gttf-verdict-20180208-story.html (quoting Assistant U.S. Attorney Leo Wise). Hersl and his

colleagues planted evidence, extorted and robbed civilians, and then lied about it to cover up

their wrongdoing. Their bad acts included but were not limited to:

              Keeping BB guns in their cars in case they shot someone “so we could plant
               them.”

              In one case, the police went into a home without a warrant, cracked open a safe
               and stole $100,000 from it (leaving an additional $100,000 behind). They then
               closed the safe back up, and filmed themselves pretending to open it for the first
               time. After that man was arrested, the police listened to the man's calls made from
               jail talking about the officers taking his money. The man was talking to his wife
               about her hiring a good attorney. The police wrote a false note and delivered it to
               the wife, purporting to be from another woman and claiming the arrested man had
               gotten this woman pregnant. The purpose was to upset the man’s wife so she
               would not hire a good attorney.


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              The police were talking about robbing someone and Sergeant Jenkins pulled out a
               large black bag full of ski masks, black clothing and shoes; another bag had a
               crow bar, battering ram and rope. The prosecutor displayed all of these “tools” in
               the courtroom during the trial.


“Notable Testimony from the Baltimore Police Gun Trace Task Force Corruption Trial,”

Baltimore Sun, available at http://www.baltimoresun.com/news/maryland/crime/bs-md-ci-gun-

trace-task-force-gttf-testimony-highlights-20180126-story.html.3

       Particularly relevant to Mr. Paylor’s case was testimony from Jimmie Griffin and from

Herbert Tate. Mr. Griffin testified that on or about November 5, 2014 (just months after Mr.

Paylor’s false arrest), Hersl and Romeo, among others, stole thousands of dollars from him

during an arrest. Specifically, Jimmie Griffin testified that Hersl took $6,000 out of Griffin’s

pocket but documented taking only $900. Ex. 13, United States v. Hersl & Taylor, No. CCB 17-

106 (D. Md.) (Griffin Testimony 2/1/2018) at 14, 20. Romeo, who was present for the robbery of

Griffin, testified to back up Hersl’s false version, saying that the wad of money taken out of

Griffin’s pocket was not large, did not look “anything close” to $6,000, and was in fact only

$900. Ex. 14, United States v. Hersl & Taylor, No. CCB 17-106 (D. Md.) (Romeo Testimony

2/6/2018) at 12. There was also a dispute about how much money the police took from Griffin’s

home: Griffin said it was $6,000 but Romeo said it was just $4,003. Ex. 13 United States v. Hersl

& Taylor, No. CCB 17-106 (D. Md.) (Griffin Testimony 2/1/2018) at 8–10; Ex. 14, United

States v. Hersl & Taylor, No. CCB 17-106 (D. Md.) (Romeo Testimony 2/6/2018) at 14. The

jury resolved these disputes, crediting Griffin and not Romeo, and specifically found that Griffin




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         Mr. Paylor has ordered some of the testimony from Hersl’s federal prosecution. Because
of the timing of this Section 2255 motion, however, he does not yet have all of the relevant
transcripts.


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had been robbed of his money. Ex. 1, Verdict at Racketeering Act 3 (Nov. 5, 2014 Jimmie

Griffin), at 4.

        In addition, Herbert Tate testified that Hersl and Burns stole hundreds of dollars from

him and then planted drugs to cover up their misconduct. In particular, according to Tate, on

November 27, 2015, Hersl and Burns “grabbed him on the street.” Ex. 15, United States v. Hersl

& Taylor, No. CCB 17-106 (D. Md.) (Tate Testimony 1/30/18) at 8. Hersl told another police

officer to steal $530 that the officers found in Tate’s pocket (and then falsely report only $216 as

being seized from Tate). Id. at 16, 23-25, 69-70. Hersl and Burns then planted “blue and whites”

(heroin) on Tate. Id. at 21. Tate testified that Hersl and Burns falsely reported seeing Tate go

back and forth to a hole in a retaining wall where Hersl “found” drugs. Id. at 22, 64. That report

was completely fabricated. Id. at 19, 64-65. Tate was charged with possession of the drugs, but

the bogus charges were eventually dropped. Id. at 25-26, 68, 71. Notwithstanding Hersl’s denials

of wrongdoing, the jury convicted Hersl on Racketeering Act 4—the robbery of Herbert Tate.

Ex. 1, Verdict Form at Racketeering Act 4, at 5.

        Indeed, the jury convicted Hersl of racketeering conspiracy (Count 1), racketeering

(Count 2) and Hobbs Act robbery and extortion (Count 5). He faces decades in prison.

                                          ARGUMENT

        Mr. Paylor’s guilty plea and resulting conviction are the direct result of egregious police

misconduct. His guilty plea was involuntary in violation of his Fifth Amendment due process

rights. Although he knew at the time that he pled guilty that the police had planted evidence

against him and lied, he also knew that he had no viable way to fight against those lies in front of

a jury. The misconduct therefore induced him to plead guilty. Moreover, his conviction is also




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the result of suppressed exculpatory information—a violation of Brady v. Maryland. For both of

these reasons, this Court should vacate his conviction under 28 U.S.C. § 2255.4

I.     Mr. Paylor’s Guilty Plea is Involuntary Because it was Predicated on Impermissible
       Government Conduct that was Material to his Decision to Plead Guilty.

       Mr. Paylor’s conviction must be vacated pursuant to 28 U.S.C. § 2255(a) because it was

entered “in violation of the Constitution or laws of the United States.” Specifically, Mr. Paylor’s

guilty plea was involuntary in violation of his Fifth Amendment due process rights because it

was induced by gross police misconduct.

       “[A] guilty plea is a grave and solemn act to be accepted only with care and

discernment[.].” Brady v. United States, 397 U.S. 742, 748 (1970). As such, in order to be

constitutionally valid, a guilty plea must be “the voluntary expression of [an accused’s] own

choice.” Id. However, even when “a defendant is fully aware of the direct consequences of the

plea,” it is involuntary when induced by police misconduct. United States v. Fisher, 711 F.3d

460, 465 (4th Cir. 2013).

       As the Fourth Circuit held in Fisher, an otherwise knowing and intelligent plea must be

set aside as involuntary when (1) “some egregiously impermissible conduct” by a government

agent predated the entry of the guilty plea, and (2) the misconduct was “material” to that decision

to plead guilty. 711 F.3d at 465. Under this two-part test, a petitioner need not establish that the

prosecutor knew of the misconduct at the time of the guilty plea, since “[n]either the timing, nor

the prosecution’s good faith” are relevant to the inquiry. Id. at 467. And though in the case at bar,



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        There is no dispute about the timeliness of this petition. Under 28 U.S.C. § 2255(f)(4), a
motion attacking a conviction is timely if the petitioner files it within one year of newly
discovered evidence and acted with due diligence in discovering that evidence. In this case, the
newly discovered evidence is the federal indictment against and conviction of Baltimore City
police officer Daniel Hersl and his BPD colleagues. Indeed, the government has agreed that any
filing by Mr. Paylor is timely. See Ex. 16, Agreed Waiver.


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Mr. Paylor is actually innocent, that is not the issue and need not be proved: a petitioner’s

“factual innocence” of the crime is not a “prerequisite to finding a plea invalid.” Id. at 467.

       Applying this two-part standard, the Fourth Circuit held in Fisher that the petitioner’s

plea was involuntary. To begin, the court found that a police officer’s “deliberate lie” in a search

warrant affidavit that led to discovery of evidence against the petitioner was impermissible

government conduct that went “to the heart of the prosecution’s case” and “[struck] at the

integrity of the prosecution as a whole.” Id. at 466 (citation omitted).

       Next, the court found that the misconduct was material to the petitioner’s decision to

plead guilty because had he been armed with the evidence of the police officer’s

misrepresentation, his “entire approach to the case would have been different.” Id. at 467

(citation omitted). In reaching this conclusion, the court relied on the affidavit of the lawyer who

represented Fisher in the underlying criminal proceeding. Fisher’s lawyer declared that if he had

the information of the police officer’s lies at the time of the plea, he would have sought a range

of options, “including outright dismissal, to a dismissal in lieu of state prosecution, to a plea in

federal court to a significantly lower sentence. Were negotiations with [the prosecution not

successful], he would have sought to suppress the evidence against [Fisher], including filing a

motion to suppress and seeking a Franks hearing.” Id. at 468 (citation omitted). Even more, the

lawyer declared that “[w]ere [he] to lose at such a hearing, [he] would have advised [Fisher] that

a key consideration in deciding whether to enter a guilty plea or proceed to trial was the role that

[the lying officer’s] credibility would play at trial.” Id. (citation omitted). Accepting these

statements, the Fourth Circuit concluded that “even if Defendant’s suppression efforts were not

successful, there is a reasonable probability that knowledge of [the lying officer’s] misconduct

would have changed Defendant’s decision to plead guilty.” Id. at 469.




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       In sum, the Fisher court held: “Given the totality of the circumstances of this case—a law

enforcement officer intentionally lying in an affidavit that formed the sole basis for searching the

defendant’s home where evidence forming the basis of the charge to which he pled guilty was

found—Defendant’s plea was involuntary and violated his due process rights.” Id. at 469

(emphasis added). See also United States v. Andrews, 2015 WL 12830499, at *1 (E.D. Va. April

1, 2015) (relying on Fisher to conclude that plea was involuntary when “critical information

contained in the search warrant affidavit [was] false” and “material to finding probable cause.”).

       The same result obtains here. There is now reliable evidence that since at least 2014—

before Mr. Paylor pled guilty—Hersl had been committing crimes against and violating the

constitutional rights of some of the most vulnerable and marginalized members of our society, all

while acting in his capacity as an officer of the law. The crimes of which Hersl has been

convicted—robbery, extortion, and racketeering—constitute impermissible government conduct.

Certainly such misconduct “strikes at the integrity of the prosecution as a whole.” Fisher, 711

F.3d at 466 (citations omitted).

       Indeed, this case easily satisfies both aspects of the Fisher test. First, there is no shortage

of egregious, impermissible police misconduct here. As reflected in the testimony at Hersl’s

federal trial and the jury’s verdict, since at least 2014, Hersl has been involved in a steady spree

of fraudulent behavior, including, but not limited to, lying in search warrant affidavits, charging

documents, and arrest reports; planting evidence against suspects; robbing individuals Hersl then

(falsely) charged with other crimes; extortion; and fraud.

       Evidence of this vast array of criminal conduct gives life to Mr. Paylor’s claim that Hersl

also fabricated the events that led to the only incriminating evidence against Mr. Paylor. The

impermissible conduct undermines the entire case against Mr. Paylor. Hersl had ample motive to




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plant the firearm and lie under oath in the statement of probable cause because he had given his

friend and colleague a chance to illegally rummage through Mr. Paylor’s property and steal close

to $5,000. Hersl needed to plant the evidence and lie about it to ensure that his victim was

silenced, discredited, and shipped to a prison far away from Baltimore—just as he did in the

many counts for which he was federally convicted.5 Indeed, the facts relating to Hersl’s

racketeering conviction for robbing and planting evidence against Tate are eerily similar to

Hersl’s bad acts in Mr. Paylor’s case.

       Second, Hersl’s misconduct was material to Mr. Paylor’s decision to plead guilty. Mr.

Paylor knew that Hersl’s version of events was full of lies, but he had no way of proving this

fraud. In the balancing test of credibility, criminal defendants typically lose out to police officers,

even when those officers are lying under oath and committing crimes themselves. In a “he said –

she said” contest, a convicted felon charged with possessing a firearm could not compete with a

police officer when Mr. Paylor knew that juries respect police officers and find them credible as

a matter of course. To be sure, the type of misconduct in which Hersl engaged inherently coerces

guilty pleas because it tends to discourage defendants like Mr. Paylor from insisting upon their

innocence and demanding a trial.

       Had Mr. Paylor known about Hersl’s extensive criminal conduct—and the government’s

imputed awareness of it—he would have had an entirely different view of the government’s case

against him. He would have insisted on going to trial. To win at trial, Mr. Paylor would have had

to convince the jury that Hersl lied under oath and that other officers were willing to do the



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        Indeed, the misconduct here bears a striking resemblance to what Hersl and Burns did to
Herbert Tate. As Tate testified, Hersl and Burns planted evidence—in Tate’s case, drugs—
arrested Tate, took his money, and documented having taken less than they really did. Ex. 15,
United States v. Hersl & Taylor, No. CCB 17-106 (D. Md.) (Tate Testimony 1/30/2018) at 20–
21, 24–25; Ex. 1, Verdict at Racketeering Act 4 (Nov. 27, 2015 Herbert Tate), at 5.


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same. This was an insurmountable burden without the concrete evidence of corruption that now

is available. Mr. Paylor knew that, in situations like his, cops always win. His only chance would

have been to present the real evidence about Hersl.

       Because there was no way to establish that Hersl and the officers with whom he was

working had invented the evidence against Mr. Paylor, defense counsel, in the underlying

criminal case, Brendan Hurson, viewed the government’s case as relatively strong and advised

Mr. Paylor to accept the guilty plea offer that ultimately gave him 60 months in prison. However,

if Mr. Hurson had this new evidence against Hersl—evidence that he tried but was unsuccessful

in securing—his entire approach to the case would have been different. He would have

advocated strongly for a different outcome in the case. Specifically, he would have fought hard

for an outright dismissal of the case. If that did not work, he would have litigated the motion to

suppress the evidence in the case. And if he were to lose the suppression motion, he would have

advised Mr. Paylor that a key consideration in deciding whether to plead guilty or go to trial

would have been the role that Hersl’s credibility played. Ex. 8, Hurson Dec. ¶ 6.

       Indeed, if evidence of Hersl’s extensive criminal conduct existed at time of his guilty

plea, Mr. Paylor would have had an entirely different view of the government’s case and insisted

on proceeding with a motion to suppress rather than pleading guilty. Under these terms, at the

very least, a reasonable probability exists that evidence of Hersl’s misconduct would have altered

Mr. Paylor’s decision to plead guilty to a crime for which he was absolutely innocent. Thus, the

misconduct was material to Mr. Paylor’s decision to plead guilty.

       It is worth noting that the government’s conduct since June 2017 is indicative of the

veracity of Mr. Paylor’s claims regarding his wrongful arrest, prosecution and conviction. The

U.S. Attorney’s Office, on its own accord, reached out to Mr. Paylor after reviewing




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contemporaneous evidence that suggested that Hersl and others had victimized Mr. Paylor in the

same way that is reflected in the indictment and subsequent conviction against Hersl. Ex. 3,

Newberger Dec. ¶¶ 2-4. After hearing Mr. Paylor’s version of events, AUSA Hines credited Mr.

Paylor’s version of events enough to put him before the grand jury. Id. ¶ 13. The government

was satisfied with the information Mr. Paylor provided such that it informed the Court that Mr.

Paylor had substantially assisted the government with an ongoing investigation by providing

useful information meriting, in its view, a sentence reduction to time-served. Ex. 10, Rule 35

Motion at 1-3.

        While Mr. Paylor appreciates the sentiment behind an offer of a sentence reduced to

time-served, he is an innocent man and a sentence reduction would not eliminate the prejudicial

collateral consequences stemming from his wrongful conviction. See Spencer, 523 U.S. at 8–14.

Knowing the power that the police have to plant evidence and obtain convictions against even

the innocent, Mr. Paylor believes that the miscarriage of justice in this case can only be redressed

by vacating his wrongful conviction.

        In sum, Mr. Paylor’s constitutional due process rights were violated when he was induced

to plead guilty based on the lies of a police officer that led to the only evidence against him. This

Court should vacate Mr. Paylor’s involuntary plea not only because his individual case has been

infected by a lying police officer, but also because courts have an important role to play in

“deterring police misconduct.” Fisher, 711 F.3d at 469. As the Fourth Circuit explained in

Fisher, “[i]f a defendant cannot challenge the validity of a plea based on subsequently

discovered police misconduct, officers may be more likely to engage in such conduct, as well as

more likely to conceal it to help elicit guilty pleas.” Id.




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        “Whether to prosecute, issue a warrant, indict and convict are serious matters that are

decided in large measure based on what a police officer relates. So when an officer does not tell

the whole truth, public confidence in the fair administration of criminal justice inevitably is

eroded.” Id. (citation omitted). Mr. Paylor’s conviction is just the sort that erodes confidence in

the fair administration of justice.

II.     The Government Committed a Brady Violation by Failing to Disclose the
        Investigation Into Hersl’s Corruption Before Mr. Paylor Pleaded Guilty.

        In the alternative, Mr. Paylor’s guilty plea should be vacated because the government

violated Mr. Paylor’s due process rights under Brady v. Maryland, 373 U.S. 83 (1963), when it

failed to disclose the investigation—both its existence and the evidence it revealed—into Hersl’s

(and the other officers’) widespread fraudulent actions before Mr. Paylor pled guilty on April 21,

2015.

        “There are three components of a true Brady violation”: the disputed information must be

(1) “favorable to the accused,” (2) “suppressed” by the government, “either willfully or

inadvertently,” and (3) “material.” Strickler v. Greene, 527 U.S. 263, 281-82 (1999). To be clear,

to satisfy the second element, Mr. Paylor need not show that the prosecutor in his case or the

U.S. Attorney’s Office willfully or inadvertently suppressed evidence. The actions and

knowledge of the Baltimore City Police Department suffice. Each of the three criteria is met

here.

        First, it goes without saying that information relating to Hersl’s pattern and practice of

falsifying documents (including search evidence receipts, warrant affidavits, police reports,

charging documents, and time/attendance records), robbing and extorting people, and stealing

money from them is “favorable” to Mr. Paylor. In fact, the scale of Hersl’s corruption was so

large that it goes well beyond impeachment or Fed. R. Evid. 404(b) evidence. Evidence of



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Hersl’s fraud in parallel situations would have undermined the validity of his entire statement of

probable cause and the legitimacy of all evidence “seized” in the instant case. See Kyles v.

Whitley, 514 U.S. 419, 445-46 (1995) (evidence relating to coercive interrogation of a witness

could have been used to impeach witness’ and detectives testimony at trial and “attack . . . the

thoroughness and even the good faith of the investigation”); United States v. Howell, 231 F.3d

615, 625 (9th Cir. 2000) (explaining that Kyles instructs that information which might “have

raised opportunities to attack . . . the thoroughness and even good faith of the investigation”

constitutes exculpatory, material evidence); Bowen v. Maynard, 799 F.2d 593, 613 (10th

Cir.1986) (“A common trial tactic of defense lawyers is to discredit the caliber of the

investigation or the decision to charge the defendant and we may consider such evidence in

assessing a possible Brady violation.”).

       This, in turn, would have likely led to the dismissal of all charges against Mr. Paylor after

a pre-trial hearing. Failure to disclose such information—that is, information material to a Fourth

Amendment suppression issue—constitutes a Brady violation. See United States v. Gamez-

Orduno, 235 F.3d 453, 461 (9th Cir. 2000) (“The suppression of material evidence helpful to the

accused, whether at trial or on a motion to suppress, violates due process if there is a reasonable

probability that, had the evidence been disclosed, the result of the proceeding would have been

different.”); Smith v. Black, 904 F.2d 950, 965-66 (5th Cir. 1990), vacated on other grounds, 503

U.S. 930 (1992) (“objections may be made under Brady to the state’s failure to disclose material

evidence prior to a suppression hearing[.]”); Biles v. United States, 101 A.3d 1012, 1020 (D.C.

2014) (“We agree that the suppression of material information can violate due process under

Brady if it affects the success of a defendant’s pretrial suppression motion”).




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       Second, the government suppressed evidence of the investigation into Hersl. And

certainly Hersl suppressed the truth of what really happened the day he arrested Mr. Paylor. In

discovery, the government never disclosed evidence of Hersl’s or other officers’ corruption.

When ordered to, the government provided a partial disclosure of IAD files, but this was not

even the tip of the iceberg of information available to the government regarding the racketeering

conspiracy and fraudulent behavior. This partial disclosure did not satisfy Brady.

       While Mr. Paylor does not precisely know when investigators first learned of Hersl’s

misconduct, it appears that knowledge can, at the very least, be traced back to 2015, according to

a public statement by Baltimore City Police Commissioner Kevin Davis, who said he had been

aware of the investigation since it was initiated in 2015. See Christine Boyton, Police

Commissioner: Indictments of ‘7 dirty cops’ result of rock solid investigation, FOX 45 NEWS,

Baltimore, Friday, March 3, 2017, available at http://foxbaltimore.com/news/local/police-

commissioner-indictments-of-7-dirty-cops-result-of-rock-solid-investigation.

       On this score, Mr. Paylor is not contending that the U.S. Attorney’s Office knew of

Hersl’s corruption before Mr. Paylor pleaded guilty; rather, Brady applies equally to evidence

“known only to police investigators and not the prosecutor.” Kyles, 514 U.S. at 419.6 Therefore,

in order to comply with Brady, “the individual prosecutor has a duty to learn of any favorable

evidence known to the others acting on the government’s behalf in this case, including the

police.” Id. at 437. Because it appears that at least BPD leadership was aware of Hersl’s

misconduct before Mr. Paylor’s guilty plea, the BPD should have disclosed that to the U.S.



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        Notably, due process also requires the disclosure of exculpatory information even after
Mr. Paylor’s conviction. Burgess v. Baltimore Police Department, No. 15-0834, 2017 WL
4947004, at *19 (D. Md. Oct. 31, 2017). As such, even if the BPD or the U.S. Attorney’s Office
did not know of Hersl’s corruption prior to Mr. Paylor’s plea, both were required to disclose the
same once they discovered such information. Id. at *19-*20.


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Attorney’s office; and the U.S. Attorney’s Office, in turn, should have turned it over to Mr.

Paylor. Because that did not occur, the second Brady criteria is met.7

        Third, the government’s failure to disclose evidence of Hersl’s corruption was material.

Favorable evidence is “material” if “there is a reasonable probability that, had the evidence been

disclosed to the defense, the result of the proceeding would have been different.” United States v.

Bagley, 473 U.S. 667, 682 (1985). However, “a showing of materiality does not require

demonstration by a preponderance that disclosure of the suppressed evidence would have

resulted ultimately in the defendant’s acquittal.” Kyles, 514 U.S. at 434. Rather “the touchstone

of materiality is a ‘reasonable probability’ of a different result.” Id. This standard is satisfied

when the government’s failure to disclose evidence “undermines confidence in the outcome” of

the case. Id. Here, a disclosure of Hersl’s corrupt practices would have undoubtedly undermined

confidence in the validity of the arrest and seizure of evidence, and in turn, shattered the

government’s only vehicle for securing a conviction against Mr. Paylor. See Kyles, 514 U.S. at

445-46; Howell, 231 F.3d at 625; Maynard, 799 F.2d at 613.

        Therefore, a Brady violation occurred in Mr. Paylor’s case, and as a result, this Court

should vacate his conviction.

                                           CONCLUSION

        Mr. Paylor’s Fifth Amendment due process rights were violated in two ways. First, his

guilty plea was involuntarily induced by gross government misconduct. Second, the government



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        Moreover, the United States Attorney’s Office was on notice of the need for this
information in Mr. Paylor’s particular case since at least March 20, 2015. The defense made a
demand for Brady information relating to Hersl’s corruption, as well as misconduct by the other
officers involved in Mr. Paylor’s arrest. The detailed pleadings surrounding the defense request
for subpoenas to the police department regarding the officers’ misconduct and the litigation
about the IAD files notified the government about potential exculpatory information relating to
the officers’ corruption.


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failed to timely disclose this misconduct, as required by Brady. Now that the widespread

corruption of the Baltimore Police Department and of Daniel Hersl, in particular, has been

exposed, this Court should correct this grave miscarriage of justice and vacate Mr. Paylor’s

conviction.




Dated: March 12, 2018                        Respectfully Submitted,

                                             /a/ Gayle Horn

                                             Jon Loevy
                                             Gayle Horn
                                             Anthony Balkissoon
                                             THE EXONERATION PROJECT
                                             311 N Aberdeen, 3rd Floor
                                             Chicago, IL 60607
                                             Telephone: 213-285-4409
                                             Counsel for Petitioner Keyon Paylor




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